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                                               United States Bankruptcy Court
                                                   District of Maryland
36 Builders, Inc.,
         Plaintiff                                                                                Adv. Proc. No. 15-00518-JS
Krimm,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0416-1                  User: larter                       Page 1 of 1                          Date Rcvd: Mar 30, 2016
                                      Form ID: pdfparty                  Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 01, 2016.
pla            +36 Builders, Inc.,   16255 Sussex Highway,   Bridgeville, DE 19933-2968
               +Joseph J. Bellinger, Trustee,   300 E Lombard Street,   Suite 2010,   Baltimore, MD 21202-3549
dft            +Matthew Allen Krimm,   374 Foreland Garth,   Abingdon, MD 21009-3092

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 01, 2016                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 30, 2016 at the address(es) listed below:
              Jeremy S. Friedberg   jeremy.friedberg@lf-pc.com, ecf@lf-pc.com,pierce.murphy@lf-pc.com
                                                                                            TOTAL: 1
Entered: March 29, 2016

SO ORDERED

Date signed March 28, 2016   Case 15-00518   Doc 10   Filed 04/01/16   Page 2 of 3

REGISTRY OF JUDGMENTS
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